          Case: 23-1556   Document: 13    Page: 1      Filed: 08/28/2023




                                2023-1556

                   IN THE UNITED STATES COURT OF
                  APPEALS FOR THE FEDERAL CIRCUIT

                  TEAM SYSTEMS INTERNATIONAL, LLC,

                                          Appellant,

                                     v.

    SECRETARY OF THE DEPARTMENT OF HOMELAND SECURITY,

                                          Appellee.

    Appeal from the Civilian Board of Contract Appeals in CBCA No. 7145,
         Administrative Judges Beardsley, Drummond, and Sheridan

   BRIEF OF APPELLEE, SECRETARY OF THE DEPARTMENT OF
                   HOMELAND SECURITY

                                   BRIAN M. BOYNTON
                                   Principal Deputy Assistant Attorney General

                                   PATRICIA M. MCCARTHY
                                   Director

                                   MARTIN F. HOCKEY, JR.
                                   Deputy Director

                                   STEVEN MICHAEL MAGER
                                   Senior Trial Counsel
                                   Commercial Litigation Branch
                                   Civil Division
                                   Department of Justice
                                   P.O. Box 480
                                   Ben Franklin Station
                                   Washington, DC 20044
                                   (202) 616-2377

August 28, 2023                    Attorneys for Appellee
                Case: 23-1556           Document: 13           Page: 2        Filed: 08/28/2023




                                       TABLE OF CONTENTS

                                                                                                            PAGE

TABLE OF AUTHORITIES .................................................................................. iii

STATEMENT OF RELATED CASES ................................................................. vii

STATEMENT OF THE ISSUE ................................................................................ 1

STATEMENT OF THE CASE ................................................................................. 1

         I.       The Federal Emergency Management Agency Enters Into A
                  Contract With TSI Containing A “Restocking Fee” Provision
                  For The Costs Of Restocking A Decreased Or Cancelled Order ......... 2

         II.      Three Years After FEMA’s Reduction In The Requirement,
                  TSI Seeks The Payment Of A Restocking Fee For The Full
                  Reduction In Quantity, Without Restocking ........................................ 5

SUMMARY OF ARGUMENT .............................................................................. 10

ARGUMENT .......................................................................................................... 11

         I.       Standard of Review ............................................................................ 11

         II.      The Board Correctly Rejected TSI’s Contract Interpretation Based
                  Upon The Plain And Unambiguous Language Of The Contract ........ 13

                  A.       Principles Of Contract Interpretation ....................................... 13

                  B.       The Plain Language Of The Contract Is Unambiguous,
                           And Requires Restocking To Receive A Restocking Fee ....... 15

         III.     The Court Should Not Consider The Proffered Extrinsic Evidence
                  To Introduce Ambiguity Into The Otherwise Plain Language
                  Of The Agreement .............................................................................. 21




                                                          i
               Case: 23-1556            Document: 13             Page: 3        Filed: 08/28/2023




                  A.       The Board Did Not Abuse Its Discretion In
                           Declining To Reopen And Reconsider Its January 27, 2022
                           Decision And Excluding TSI’s Late Proffered Declarations
                           From The Record ..................................................................... 23

                  B.       The Hurricane Florence Task Order Does Not Support
                           TSI’s Claims ............................................................................ 28

         IV.     The Doctrine Of Contra Proferentem Is Not Applicable Here .......... 31

         V.      TSI Fails To Demonstrate That The Board’s Determination
                 That It Suffered No Damages Is Unsupported By Substantial
                 Evidence. ............................................................................................ 33

CONCLUSION ....................................................................................................... 35




                                                          ii
               Case: 23-1556          Document: 13          Page: 4       Filed: 08/28/2023




                                   TABLE OF AUTHORITIES

CASES                                                                                            PAGE(S)

Agility Logistics Servs. Co. KSC v. Mattis,
       887 F.3d 1143 (Fed. Cir. 2018) .....................................................................12

Alaska Lumber & Pulp Co. v. Madigan,
      2 F.3d 389 (Fed. Cir. 1993) ...........................................................................22

C. Sanchez & Son, Inc. v. United States,
      6 F.3d 1539 (Fed. Cir. 1993) .........................................................................14

Chase & Rice, Inc. v. United States,
     354 F.2d 318 (Ct. Cl. 1965) ...........................................................................30

CITGO Asphalt Ref. Co. v. Frescati Shipping Co., Ltd.,
    140 S. Ct. 1081 (2020)............................................................................ 13, 15

Coast Fed. Bank, FSB v. United States,
      323 F.3d 1035 (Fed. Cir. 2003) ........................................................ 13, 14, 28

Curtin v. Office of Pers. Mgmt.,
      846 F.2d 1373 (Fed. Cir. 1988) .............................................................. 12, 23

Edward R. Marden Corp. v. United States,
     803 F.2d 701 (Fed. Cir. 1986) .......................................................... 13, 32, 33

Elec. Boat Corp. v. Sec’y of the Navy,
      958 F.3d 1372 (Fed. Cir. 2020) .....................................................................12

Fraunhofer-Gesellschaft zur Forderung der Angewandten Forschung E.V. v. Sirius
     XM Radio Inc.,
     940 F.3d 1372 (Fed. Cir. 2019) .....................................................................14

Fruin-Colnon Corp. v. United States,
      912 F.2d 1426 (Fed. Cir. 1990) .....................................................................33

Gardiner, Kamya & Assocs., P.C. v. Jackson,
     467 F.3d 1348 (Fed. Cir. 2006) .....................................................................31
                                                      iii
               Case: 23-1556          Document: 13          Page: 5       Filed: 08/28/2023




Gates v. Raytheon Co.,
      584 F.3d 1062 (Fed. Cir. 2009) .....................................................................12

Hercules Inc. v. United States,
     292 F.3d 1378 (Fed. Cir. 2002) .....................................................................15

HPI/GSA 3C, LLC v. Perry,
     364 F.3d 1327 (Fed. Cir. 2004) .....................................................................32

Hunt Construction Group, Inc. v. United States,
     281 F.3d 1369 (Fed. Cir. 2002) .....................................................................15

Johnson Mgmt. Grp. CFC, Inc. v. Martinez,
     308 F.3d 1245 (Fed. Cir. 2002) .............................................................. 12, 23

Jowett, Inc. v. United States,
      234 F.3d 1365 (Fed. Cir. 2000) .............................................................. 26, 27

Kellogg Brown & Root Servs., Inc. v. Sec’y of the Army,
      973 F.3d 1366 (Fed. Cir. 2020) .............................................................. 11, 12

King v. Dep’t of Navy,
      130 F.3d 1031 (Fed. Cir. 1997) .....................................................................13

M&G Polymers USA, LLC v. Tackett,
    574 U.S. 427 (2015).......................................................................................13

McAbee Constr., Inc. v. United States,
    97 F.3d 1431 (Fed. Cir. 1996) .......................................................... 15, 22, 28

Metric Constructors, Inc. v. NASA,
      169 F.3d 747 (Fed. Cir. 1999) .......................................................................26

Northwest Title Agency, Inc. v. United States,
     855 F.3d 1344 (Fed. Cir. 2017) .....................................................................27

NVT Techs., Inc. v. United States,
     370 F.3d 1153 (Fed. Cir. 2004) .....................................................................18



                                                      iv
               Case: 23-1556           Document: 13           Page: 6       Filed: 08/28/2023




Premier Office Complex of Parma, LLC v. United States,
     916 F.3d 1006 (Fed. Cir. 2019) .............................................................. 14, 15

R.B. Wright Constr. Co. v. United States,
      919 F.2d 1569 (Fed. Cir. 1990) .....................................................................27

Reliable Contracting Group, LLC v. Department of Veterans Affairs,
      779 F.3d 1329 (Fed. Cir. 2015) .....................................................................31

Sharp Elecs. Corp. v. McHugh,
      707 F.3d 1367 (Fed. Cir. 2013) .....................................................................12

Sterling Sav. v. United States,
       57 Fed. Cl. 445 (2003) ...................................................................................27

TEG-Paradigm Envtl., Inc. v. United States,
     465 F.3d 1329 (Fed. Cir. 2006) .............................................................. 14, 21

Triax Pac., Inc. v. West,
      130 F.3d 1469 (Fed. Cir. 1997) .....................................................................32

Trident Ctr. v. Connecticut Gen. Life Ins. Co.,
      847 F.2d 564 (9th Cir. 1988) .........................................................................22

Two Shields v. United States,
     119 Fed. Cl. 762 (2015), aff’d sub nom. Ramona Two Shields v. United
     States, 820 F.3d 1324 (Fed. Cir. 2016)..........................................................28

WDC West Carthage Associates v. United States,
    324 F.3d 1359 (Fed. Cir. 2003) .............................................................. 30, 31

Yuba Nat. Res., Inc. v. United States,
     904 F.2d 1577 (Fed. Cir. 1990) .....................................................................23

Zoeller v. McHugh,
      626 F. App’x 983 (Fed. Cir. 2015) ................................................................23




                                                        v
                Case: 23-1556            Document: 13            Page: 7        Filed: 08/28/2023




STATUTES

41 U.S.C. § 7107(b) .......................................................................................... 11, 12

41 U.S.C. § 7107(b)(2)(C) .........................................................................................1

41 U.S.C. §§ 7101-7109 ..........................................................................................11

REGULATIONS

48 C.F.R. § 52.212-4 ..................................................................................................3

48 C.F.R. § 52.212-4(d) ...........................................................................................34

48 C.F.R. § 52.233-1 ................................................................................................34




                                                          vi
           Case: 23-1556      Document: 13     Page: 8       Filed: 08/28/2023




                      STATEMENT OF RELATED CASES

      No other appeal in or from the same proceeding before the Civilian Board of

Contract Appeals (CBCA or board) was previously before this or any other

appellate court. The Government is not aware of any other case that may be

directly affected by this Court’s decision in this appeal.
           Case: 23-1556     Document: 13     Page: 9      Filed: 08/28/2023




                                    2023-1556

                       IN THE UNITED STATES COURT OF
                      APPEALS FOR THE FEDERAL CIRCUIT

                      TEAM SYSTEMS INTERNATIONAL, LLC,

                                              Appellant,

                                         v.

     SECRETARY OF THE DEPARTMENT OF HOMELAND SECURITY,

                                              Appellee.

     Appeal from the Civilian Board of Contract Appeals in CBCA No. 7145,
          Administrative Judges Beardsley, Drummond, and Sheridan

    BRIEF OF APPELLEE, SECRETARY OF THE DEPARTMENT OF
                    HOMELAND SECURITY

                          STATEMENT OF THE ISSUE

      Whether the board erred in determining that the plain language of the

contract (the restocking fee provision) required appellant Team Systems

International, LLC (TSI) to restock before they would be entitled to the payment of

the restocking fee.

                          STATEMENT OF THE CASE

      As a general matter, we agree with and adopt the findings of fact by the

CBCA. See APPX0001-0005; APPX0009-0010; APPX0014-0015. The board’s

findings are supported by substantial evidence. 41 U.S.C. § 7107(b)(2)(C). To the

extent that TSI urges this Court to make its own findings inconsistent with the
          Case: 23-1556     Document: 13        Page: 10   Filed: 08/28/2023




CBCA’s findings or adopt new findings, this Court should reject TSI’s suggestion.

Indeed, TSI’s statement of the case is replete with its own findings of fact which

often diverge from the board’s findings, without any demonstration that the

board’s findings are not supported by substantial evidence (or otherwise subject to

review by this Court).

      However, for the sake of clarity, we restate the relevant portions of the

board’s findings here, submit a factual counterpoint to TSI’s new findings where it

may be necessary, and provide the underlying procedural posture before the board,

as may be relevant to the current appeal.

I.    The Federal Emergency Management Agency Enters Into A Contract
      With TSI Containing A “Restocking Fee” Provision For The Costs Of
      Restocking A Decreased Or Cancelled Order

      On September 5, 2017, the Federal Emergency Management Agency

(FEMA) awarded indefinite delivery/indefinite quantity (IDIQ) contract no.

HSFE70-17-D-0021 for the provision of bottled drinking water during declared

disasters to TSI (among other offerors). APPX0031; see also APPX0002;

APPX0014; APPX0362. The IDIQ contract included contract line item number

(CLIN) 005, which allowed for the payment of a “Restocking Fee,” upon the

occurrence of certain conditions. APPX0073; see also APPX0002; APPX0014;

APPX0362-0363.

      Specifically, the IDIQ contract provided:



                                            2
           Case: 23-1556      Document: 13     Page: 11    Filed: 08/28/2023




             Restocking Fee: (CLIN X005) – The initial ordered
             quantity either decreases or the order is cancelled. The
             fee covers the costs of restocking decreased or cancelled
             order to the Contract.

Id. Despite TSI’s arguments to the contrary in its statement of the case,

Appellant’s Br. at 6-7, the plain language of this clause does not provide for the

payment of a fee merely upon the cancellation or reduction of an order, and no

contemporaneous evidence was presented to the board that either party expressed

the view that the restocking fee provision was a cancellation/reduction in quantity

penalty provision, wholly untethered from restocking. APPX0073. Consistent

with the Federal Acquisition Regulations (FAR), the contract does allow for the

recovery of costs upon the partial termination for convenience of a contract, see

APPX0031 (incorporating by reference FAR 52.212-4), but TSI has not filed any

claims under this termination provision, even for a constructive partial termination,

nor has it argued that this provision is applicable here. See Appellant’s Br. at 7

(referencing the termination clause).

      On September 23, 2017, FEMA solicited quotes from multiple contractors,

including TSI, for the delivery of bottled water to multiple ports in Puerto Rico and

ability to transport to U.S. Virgin Islands (if needed) as part of the disaster

response to Hurricane Maria. See APPX0155-0157; see also APPX0002;

APPX0432-0434. Although FEMA initially estimated of that a total 240 million

liters of water would be needed across all IDIQ holders, it also noted that the


                                           3
           Case: 23-1556     Document: 13     Page: 12    Filed: 08/28/2023




amount of water needed might fluctuate from the time of the RFQ release and

award, and sought the award of multiple contracts to meet the Government’s

requirements. APPX0155. Again, no fixed cancellation fee provision was

included in this request for quotation, but FEMA did request a quote for the

restocking fee, consistent with the IDIQ agreement. APPX0157; see APPX0002;

APPX0363.

      On September 29, 2017, FEMA awarded TSI task order no. HSFE70-17J-

0273 for the procurement and delivery of 80,000,640 liters of bottled drinking

water. APPX0171; see also APPX0002; APPX0364. The task order included a

restocking fee of $0.20 as CLIN 0005, stating “IDIQ restocking terms and

conditions applies. As requested by vendor, Government to provide 24 hour notice

for cancellation.” APPX0173; see also APPX0003; APPX0364.

      On October 9, 2017, FEMA notified TSI of a reduction to the requirement,

to 3 million bottles of water per week. APPX0115; see also APPX0003. In

response, TSI provided on October 12, 2017 that it had “two weeks water in transit

through JAX [Jacksonville] to PR [Puerto Rico],” and had purchased the other 6

million but was “holding back to stage the shipments.” APPX0114; see also

APPX0003. On November 4, 2017, TSI provided that 4 containers (with 20 pallets

of 18,240 liters per pallet) has not yet been shipped, but that 695 containers had

been shipped. APPX0113; see also APPX0003. The decrease in the water



                                          4
           Case: 23-1556     Document: 13      Page: 13    Filed: 08/28/2023




quantity was formalized into bi-lateral modification P00001 on November 6, 2017.

APPX0184-0186; see aslo APPX0003. This modification reduced the water

quantity from 80,000,640 liters of bottled drinking water to 12,479,040 liters, for a

net reduction in quantity of 67,521,600 liters. APPX0184; see also APPX0003.

      TSI did not physically restock any bottles of water as a result of the decrease

and did not pay any restocking fees to its subcontractors. APPX503; see also

APPX0014.

II.   Three Years After FEMA’s Reduction In The Requirement, TSI Seeks
      The Payment Of A Restocking Fee For The Full Reduction In Quantity,
      Without Restocking

      On October 20, 2020, three years after the events in question, TSI submitted

invoice number TSI-0273-005 seeking the payment of $13,504,192 under CLIN

0005. APPX0089-0090; APPX0271; see also APPX0003; APPX0365. FEMA

denied payment under the invoice. APPX0087; APPX0270; see also APPX0003;

APPX0365.

      On November 3, 2020, TSI submitted a certified claim under the Contract

Disputes Act, wherein TSI requested payment in the amount of $13,504,320 for

restocking fees under CLIN 0005 due to the reduction in the ordered quantities

from modification P0001. APPX0269; see also APPX0003; APPX0365-0366.

TSI claimed that it was entitled to $0.20 per liter for the entire reduction in

quantity of 67,521,600 liters under CLIN 0005, “as requested by the vendor.” Id.



                                           5
          Case: 23-1556      Document: 13     Page: 14    Filed: 08/28/2023




The claim provided that “TSI had on order the required 80,000,640 liters of

water[,]” but did not include any evidence that TSI had been required to restock

more than 67 million liters of bottled water or make any claim that TSI incurred

any costs of restocking. Id. Accordingly, the contracting officer denied TSI’s

claim on April 30, 2021, but (based on FEMA’s contemporaneous records)

determined that TSI was entitled to receive $14,592 under CLIN 0005 (for 4

containers x 18,240 liters x $0.20 restocking unit fee). APPX0273-0286; see also

APPX0003-0004; APPX0366.

      TSI appealed this denial to the CBCA in June 2021. See APPX0004;

APPX0020.

      Following discussions between the parties that identified the interpretation

of the CLIN 0005 restocking fee as the only substantive issue of dispute between

the parties, TSI filed a motion to suspend discovery deadlines. See APPX0021;

APPX0389. The board granted TSI’s motion to suspend and the parties fully

briefed the contract interpretation issue in initial cross-motions for summary

judgment. See APPX0021-0022.

      In their respective initial cross-motions, both parties agreed that the plain

and unambiguous language of the contract supported their respective

interpretations. See APPX0002; APPX0003-0004 (summarizing the parties’

arguments). For its part, TSI contended that “[t]he plain and unambiguous



                                          6
           Case: 23-1556     Document: 13      Page: 15    Filed: 08/28/2023




language of CLIN 0005 provides that the fee is triggered by either a decrease in the

ordered quantity or cancelation of the order.” APPX0413; see also APPX0419-

0426. More simply, TSI contended that the restocking fee was “effectively” a

cancellation penalty fee, rather than a restocking fee. APPX0421. In its initial

motion, TSI did not assert or present any evidence that the phrase “restocking fee”

needed to be interpreted in accordance with trade practice, nor did TSI submit

evidence that it had relied upon trade practice in interpreting this contract

provision. APPX0011. See generally APPX0419-0429.

      On January 27, 2022, the CBCA denied TSI’s motion and, based upon the

plain language of the contract, held that “in order for TSI to recover restocking fees

under this contract, it must prove more than that the order was simply decreased or

cancelled.” APPX0002. Instead, the board held that to recover restocking fees,

“[t]here must be proof that the supplies were actually restocked and a fee was

charged for that restocking.” APPX0006. However, because the board also

determined that it was “unclear from the record if any supplies were actually

restocked, thereby incurring a restocking fee,” the board also declined to grant

FEMA’s motion for summary judgment. APPX0007.

      TSI did not seek reconsideration of the board’s decision within 30 days of

the board’s decision. See APPX0020-0024; see CBCA Rule 26 (reconsideration).




                                           7
           Case: 23-1556     Document: 13     Page: 16    Filed: 08/28/2023




      Instead, after the parties jointly elected to submit the remaining issues to the

board without a hearing pursuant to Rule 19 of the Rules of Procedure of the

Civilian Board of Contract Appeals, TSI submitted a supplement to the appeal file

that included three expert reports, opining on how the contract at issue should be

interpreted. See APPX0010. Other than opining on the question of contract

interpretation, none of these three reports addressed the specific facts that the board

has left to be resolved. Id. FEMA objected to these reports, observing that the

board had already addressed the interpretation of the contract, and the declarations

were not relevant to the remaining issues. Id.

      The board restyled FEMA’s motion as a motion in limine to exclude these

three expert reports, APPX0010-0011, and granted FEMA’s motion. As an initial

matter, the board noted that eight months prior to the motion, the board had found

the contract terms related to restocking to be “unambiguous.” APPX0011. TSI

had not sought reconsideration, but rather “by its submission of” the three expert

reports, sought to have the board effectively “reopen and reconsider” its decision.

Id. The board held that “[a]t the time that the [b]oard made its [prior] decision,

TSI had every opportunity to submit these reports but did not. The three proposed

exhibits essentially go to how the [b]oard should interpret the contract, which we

already did in our January 2022 decision.” In addition, the board noted that the

extrinsic evidence contained in the proposed exhibits would not have altered the



                                          8
           Case: 23-1556      Document: 13    Page: 17    Filed: 08/28/2023




board’s determination that the contract was unambiguous. APPX0011-0012.

Accordingly, the board held that the new evidence that TSI had submitted was

“neither timely nor acceptable.” APPX0011.

      On February 9, 2023, the board rendered its Rule 19 decision on the record.

APPX0013-0017. Although in its motion TSI had sought to introduce extrinsic

evidence (including a prior contractual arrangement between FEMA and TSI) that

would support its theory that the requirement to pay the restocking fee was merely

triggered by a decrease in the requirement (without the need to allege or prove

restocking or the existence of restocking costs), the board again noted that it had

previously held that the contract was unambiguous, and thus there was no need to

examine such evidence. However, even if the contract were to be held to be

ambiguous, the board noted that the evidence submitted by TSI would have little

weight, because TSI did not provide sufficient information to determine “whether

the circumstances of the tasks orders were similar.” APPX0016. Further, the

board noted that the fact that its supplier did not charge TSI anything for the

cancellation of its order here cut against any argument that it was industry custom

to treat a restocking fee provision as a cancellation penalty. Id.

      This appeal followed.




                                          9
           Case: 23-1556     Document: 13     Page: 18   Filed: 08/28/2023




                           SUMMARY OF ARGUMENT

      This case focuses upon a narrow dispute regarding three lines (the restocking

fee provision) of a contract between FEMA and TSI to supply bottled water in

national emergencies. See APPX0073. Although TSI neither restocked the bottled

water at issue, nor paid any restocking fees to its suppliers, APPX0014,

APPX0435, TSI contends that the board erred in interpreting the plain language of

the contract’s restocking fee provision to only provide for compensation upon

restocking and incurring any costs of restocking, rather than require for a payment

to the contractor merely upon the cancellation of an order or a reduction in

quantity. At its core, TSI seeks to have the Government pay a restocking fee

where there was no restocking. Despite TSI’s conclusory statements to the

contrary, and attempts to introduce ambiguity into the contract through the

otherwise untimely introduction of extrinsic evidence, TSI’s arguments are

unsupported by the plain language of the contract, which provides in pertinent part:

             Restocking Fee: (CLIN X005) – The initial ordered
             quantity either decreases or the order is cancelled. The
             fee covers the costs of restocking decreased or cancelled
             order to the Contract.

APPX0073.

      FEMA agrees that had TSI been required to restock as a result of a reduction

in quantities or cancellation of an order, TSI would have been entitled to the

restocking fee. FEMA also agrees that an order must be decreased or cancelled in


                                         10
           Case: 23-1556     Document: 13      Page: 19    Filed: 08/28/2023




order to trigger the restocking fee provision; since restocking in the ordinary

course would not require the payment of the restocking fee. Contrary to TSI’s

repeated allegations, FEMA does not (and has not) contended that TSI must

demonstrate (or may receive) its actual costs in order to receive the restocking fee

under this provision. However, FEMA does not agree (and the board correctly

held) that a mere reduction in quantities or cancellation of an order is sufficient,

standing alone, to entitle a contractor to compensation without restocking. The

plain language of the agreement provides that the restocking fee “covers the costs

of restocking decreased or cancelled order,” so that where no restocking occurs, no

restocking fee may be recovered. There is no ambiguity here, and the board did

not err in its interpretation of the contract. Accordingly, this Court should affirm

the board’s decision.

                                    ARGUMENT

I.    Standard of Review

      The Contract Disputes Act of 1978 (CDA), 41 U.S.C. §§ 7101-7109,

specifies the standard of review for this appeal. 41 U.S.C. § 7107(b); see Kellogg

Brown & Root Servs., Inc. v. Sec’y of the Army, 973 F.3d 1366, 1370 (Fed. Cir.

2020) (citing 41 U.S.C. § 7107(b)). Under that standard, the Court reviews the

board’s decision as to questions of law without deference. 41 U.S.C. § 7107(b)

(“decision of the agency board on a question of law is not final or conclusive”);



                                          11
           Case: 23-1556     Document: 13     Page: 20    Filed: 08/28/2023




Sharp Elecs. Corp. v. McHugh, 707 F.3d 1367, 1371 (Fed. Cir. 2013). Questions

of contract interpretation are generally considered question of law, which are

reviewed de novo. Agility Logistics Servs. Co. KSC v. Mattis, 887 F.3d 1143, 1148

(Fed. Cir. 2018). Though not binding, this Court “give[s] the Board’s legal

conclusions careful consideration in view of the Board’s considerable experience

in construing government contracts.” Elec. Boat Corp. v. Sec’y of the Navy, 958

F.3d 1372, 1375 (Fed. Cir. 2020) (citing Gates v. Raytheon Co., 584 F.3d 1062,

1067 (Fed. Cir. 2009)).

      In contrast, the board’s decision “on a question of fact is final and

conclusive and may not be set aside unless the decision is—(A) fraudulent,

arbitrary, or capricious; (B) so grossly erroneous as to necessarily imply bad faith;

or (C) not supported by substantial evidence.” 41 U.S.C. § 7107(b); see Kellogg

Brown, 973 F.3d at 1370 (quoting 41 U.S.C. § 7107(b)).

      Finally, it is well established that “[p]rocedural matters relative to discovery

and evidentiary issues fall within the sound discretion of the board and its

officials.” Curtin v. Office of Pers. Mgmt., 846 F.2d 1373, 1378 (Fed. Cir. 1988).

Accordingly, “a discovery or evidentiary ruling of the [b]oard will not be

overturned unless ‘an abuse of discretion is clear and is harmful.’” Johnson Mgmt.

Grp. CFC, Inc. v. Martinez, 308 F.3d 1245, 1252 (Fed. Cir. 2002) (quoting Curtin,

846 F.2d at 1378).



                                         12
           Case: 23-1556      Document: 13      Page: 21   Filed: 08/28/2023




II.   The Board Correctly Rejected TSI’s Contract Interpretation Based
      Upon The Plain And Unambiguous Language Of The Contract

      A.     Principles Of Contract Interpretation

      In interpreting a contract, the Court endeavors to ascertain the joint intent of

the parties at the time the contract was formed. See King v. Dep’t of Navy, 130

F.3d 1031, 1033 (Fed. Cir. 1997) (“The paramount focus is the intention of

the parties at the time of contracting; that intention controls in any subsequent

dispute.”); Edward R. Marden Corp. v. United States, 803 F.2d 701, 705 (Fed. Cir.

1986) (“cardinal rule of contract construction that the joint intent of the parties is

dominant if it can be ascertained”).

      To do this, the Court “begins with the language of the written agreement,”

which “must be considered as a whole and interpreted so as to harmonize and give

reasonable meaning to all of its parts.” Coast Fed. Bank, FSB v. United States, 323

F.3d 1035, 1038 (Fed. Cir. 2003). “Where the words of a contract in writing are

clear and unambiguous, its meaning is to be ascertained in accordance with its

plainly expressed intent.” M&G Polymers USA, LLC v. Tackett, 574 U.S. 427, 435

(2015). “In such circumstances, the parties’ intent can be determined from the face

of the agreement and the language that they used to memorialize [that] agreement.”

CITGO Asphalt Ref. Co. v. Frescati Shipping Co., Ltd., 140 S. Ct. 1081, 1088

(2020) (internal quotation marks omitted). Simply, “[w]hen the contractual

language is unambiguous on its face, [the] inquiry ends and the plain language of


                                           13
           Case: 23-1556      Document: 13     Page: 22    Filed: 08/28/2023




the Agreement controls.” Coast Fed. Bank, FSB, 323 F.3d at 1040-41. “If a

contract provision is clear and unambiguous, the court may not resort to extrinsic

evidence to interpret it.” Premier Office Complex of Parma, LLC v. United States,

916 F.3d 1006, 1011 (Fed. Cir. 2019) (emphasis added).

      “A contract term is unambiguous if there is only one reasonable

interpretation.” Id. (quoting C. Sanchez & Son, Inc. v. United States, 6 F.3d 1539,

1544 (Fed. Cir. 1993)). In contrast, “[w]hen a provision in a contract is susceptible

to more than one reasonable interpretation, it is ambiguous.” TEG-Paradigm

Envtl., Inc. v. United States, 465 F.3d 1329, 1338 (Fed. Cir. 2006). “To show an

ambiguity it is not enough that the parties differ in their respective interpretations

of a contract term, rather, both interpretations must be reasonable.” Premier Office

Complex of Parma, LLC, 916 F.3d at 1011 (internal quotation marks omitted).

      “If ambiguity is found, or if ambiguity has arisen during performance of the

agreement, the judicial role [remains] to implement the intent of the parties at the

time the agreement was made.” King, 130 F.3d at 1033. To do that, courts “utilize

extrinsic evidence to derive a construction that effectuates the parties’ intent at the

time they executed the contract.” TEG-Paradigm Envtl., Inc., 465 F.3d at 1338;

see also Fraunhofer-Gesellschaft zur Forderung der Angewandten Forschung E.V.

v. Sirius XM Radio Inc., 940 F.3d 1372, 1381 (Fed. Cir. 2019).




                                          14
           Case: 23-1556     Document: 13      Page: 23   Filed: 08/28/2023




      Whereas interpretation of an unambiguous contract is a question of law, as is

the determination of whether a contract is ambiguous, see Premier Office Complex

of Parma, LLC, 916 F.3d at 1011, interpretation of a facially ambiguous contract

becomes a question of fact. CITGO Asphalt Ref. Co., 140 S. Ct. at 1088. As the

Supreme Court has explained, “[w]hen a written contract is ambiguous, its

meaning is a question of fact, requiring a determination of the intent of [the] parties

in entering the contract; that may involve examining relevant extrinsic evidence of

the parties’ intent and the meaning of the words that they used.” Id. (internal

quotation marks omitted).

      B.     The Plain Language Of The Contract Is Unambiguous, And
             Requires Restocking To Receive A Restocking Fee

      It is well settled that “[c]ontract interpretation begins with the plain language

of the written agreement.” Hercules Inc. v. United States, 292 F.3d 1378, 1380–81

(Fed. Cir. 2002) (citing McAbee Constr., Inc. v. United States, 97 F.3d 1431, 1435

(Fed. Cir. 1996). If the plain language of the contract is unambiguous on its face,

then the inquiry ends, and no extrinsic evidence is considered. Hunt Construction

Group, Inc. v. United States, 281 F.3d 1369, 1373 (Fed. Cir. 2002). Because the

plain language of the restocking fee provision supports the board’s (and FEMA’s)

interpretation, this Court should affirm the CBCA’s decision.




                                          15
           Case: 23-1556      Document: 13      Page: 24    Filed: 08/28/2023




      The language that needs to be interpreted here is rather limited,1 and consists

only of the title of the CLIN and the two sentences further defining the CLIN:

             Restocking Fee: (CLIN X005) – The initial ordered
             quantity either decreases or the order is cancelled. The
             fee covers the costs of restocking decreased or cancelled
             order to the Contract.

APPX0073. As an initial matter, the title of CLIN 0005 is “Restocking Fee.” Id.

The sole reasonable interpretation of this language is that CLIN 0005 is intended to

serve as a fee that applies to restocking. It is not a cancellation/reduction fee. It is,

just as the title expressly and unambiguously provides, a restocking fee. Next, the

first sentence of the definition of the CLIN requires that “[t]he initial ordered

quantity either decreases or the order is cancelled.” Id. This means that a

contractor is only eligible to receive the restocking fee when the initial ordered

quantity either decreases or the order is cancelled. Restocking for any other reason

(such as in the ordinary course of business or in connection with the performance

of the contract) would not result in the payment of the restocking fee. Finally, the

second sentence of the definition provides that “[t]he fee covers the costs of

restocking decreased or cancelled order to the Contractor.” Id. This means that

the restocking fee is intended to cover the costs of any restocking that was caused

      1
        Although TSI claims that the task order at issue altered FEMA’s
obligations with regards to the restocking fee, the task order expressly stated that
“IDIQ restocking terms and conditions applies.” APPX0173; see also APPX0003;
APPX0364. Accordingly, the relevant contract language remains the IDIQ
language quoted above.

                                           16
           Case: 23-1556     Document: 13      Page: 25    Filed: 08/28/2023




by a decreased or cancelled order. In other words, the restocking fee unit price of

$0.20 applies for any restocking that occurs, in lieu of the contractor seeking

reimbursement of the actual costs for restocking.

      Put together, CLIN 0005 is a restocking fee that covers the cost of

restocking bottles of water that a contractor must restock as a result of an initial

ordered quantity decreasing or being cancelled. To that end, the quantity to which

the restocking fee is applied would be the number of liters that a contractor must

restock as a result of the ordered quantity decreasing.

      This interpretation is in accordance with the plain language and gives

reasonable meaning to all portions of that language. No language is rendered

meaningless, and no additional language must be added. The contract language

here is unambiguous on its face, and the restocking fee should apply to restocking.

      This straightforward interpretation of the contract language stands in stark

contrast to TSI’s interpretation of the same provision. TSI contends that the plain

language of the contract’s restocking fee provision does not require any allegation

or evidence of restocking, it is simply provided upon a cancellation or a reduction

in quantity, measured by the cancellation or reduction in quantity. See, e.g.,

Appellant’s Br. at 21-22 (“Since it is undisputed that FEMA reduced the initial

ordered quantity, TSI is entitled to the “restocking fee” under CLIN 0005 for the

quantity reduced”). Despite the description of CLIN 0005 as a “restocking fee,”



                                          17
             Case: 23-1556    Document: 13      Page: 26    Filed: 08/28/2023




and the statement that the fee “covers the costs of restocking decreased or

cancelled order to the Contract,” TSI seeks to transform a restocking fee into a fee

for cancellation or reduction in quantity, without any ties to restocking. This

interpretation is absurd, and fails to give effect to all of the language of the

provision. See NVT Techs., Inc. v. United States, 370 F.3d 1153, 1159 (Fed. Cir.

2004) (explaining that interpretations should “harmonize and give reasonable

meaning” to all parts of the contract, rather than “leave[ ] a portion of the contract

useless, inexplicable, void, or superfluous”). The board was correct to reject TSI’s

interpretation.

      More specifically, TSI’s interpretation would render the title of the CLIN,

“Restocking Fee” without any meaning. Pursuant to TSI’s interpretation,

restocking is not relevant to whether a party is entitled to a restocking fee. Rather

than read CLIN 0005 as a restocking fee, consistent with the title, TSI instead

treats the restocking fee as more akin to a cancellation fee or a quantity reduction

penalty. However, if the parties had wanted to provide for a cancellation fee, they

would have expressly provided for a cancellation fee. The parties could have

labelled this provision as a “cancellation fee,” if that was what the fee was intended

to cover. An interpretation which requires finding that the restocking fee is

unrelated to restocking is not in accordance with the plain language of this

provision.



                                           18
           Case: 23-1556     Document: 13      Page: 27   Filed: 08/28/2023




      While TSI reads the title of the CLIN out of existence, it rewrites the first

sentence of the definition of the CLIN to read as though it contained the very

language expressly contained in the second sentence. Although this sentence

simply provides “[t]he initial ordered quantity either decreases or the order is

cancelled,” APPX0073, TSI reads this language to require compensation of a

restocking fee based upon cancellation for the full reduction in ordered quantity

upon such reduction. In other words, by TSI’s reading, the restocking fee “covers”

the cost to a contractor when “[t]he initial ordered quantity either decreases or the

order is cancelled.” Although this language indicates that the restocking fee can be

activated when an initial ordered quantity either decreases or the order is cancelled,

there is simply nothing in this sentence to suggest that it defines the quantity of

units to which the restocking fee applies or that the restocking fee covers such

costs. What the restocking fee “covers” is found in the second sentence.

      This second sentence provides that “[t]he fee covers the costs of restocking

decreased or cancelled order to the Contractor.” APPX0073. TSI’s interpretation,

however, effectively reads this sentence out of existence. Its argument that

restocking need not occur is irreconcilable with the requirement that “[t]he fee

cover[] the costs of restocking.” If no restocking occurs, then there are no costs

that need to be covered by the restocking fee. The restocking fee does not “cover”

the costs of a reduction or cancellation, it only covers “the costs of restocking.”



                                          19
            Case: 23-1556    Document: 13      Page: 28    Filed: 08/28/2023




      In its brief, TSI contends that FEMA and the board’s interpretation of the

contract would transform the phrase “cover” into a requirement to “reimburse or

compensate.” Appellant’s Br. at 24-25, 27; see also Appellant’s Br. at 29-30, 32

(asserting that a restocking fee that allows for the recovery of actual costs would

conflict with the termination for convenience clause). This is incorrect. In fact, we

agree that a restocking fee is to be provided in lieu of actual costs incurred for

restocking. Reimbursement is to be based upon the number of units that are

restocked, rather than the actual cost of restocking. But that does not relieve TSI

of the burden of demonstrating that it was required to restock, incurring restocking

costs in the first instance. The existence of such costs, rather than the actual

amount of such costs, is what is relevant. More simply, because the restocking fee

“covers the costs of restocking decreased or cancelled order to the Contractor,” a

contractor must demonstrate that they incurred costs of restocking for a decreased

or cancelled order to obtain the restocking fee. The words “costs of restocking”

cannot be read out of the contract, even if the fee is provided in lieu of actual costs

incurred.

      Nor should this Court re-write the phrase “costs of restocking” to provide for

the much broader “costs of cancellation.” This contract is intended to assist FEMA

in providing aid in times of natural disaster, such as hurricanes. Accordingly,

initial estimates and orders will have to be varied as these situations evolve.



                                          20
           Case: 23-1556      Document: 13      Page: 29    Filed: 08/28/2023




Changes in the volume of an order are to be expected. Thus, while as a matter of

fairness, FEMA is willing to accept that it may have to pay the “costs of

restocking” in the event of a cancellation or reduction in quantity, it is illogical to

suggest that FEMA has chosen to impose a “cancellation penalty” on itself to

ensure that initial estimates of supplies identified at the outset of a natural disaster

are set in stone. Such an interpretation does not reflect the reality of providing aid

during times of natural disasters.

       Finally, TSI’s assertion that the restocking fee does not contain the same

“conditions on payment” as other clauses ignores the fact that there are express

conditions for the payment of the fee, however minimal. Appellant’s Br. at 24-25,

27. Simply, TSI must provide the agency with the quantity of bottles that it has

restocked, thus demonstrating that it has incurred the cost of restocking. See

generally APPX0046 (invoice instructions). This is not a particularly significant

burden, but it is one that TSI could not, and thus declined, to attempt to meet. As

such, the board did not err in denying TSI’s challenge and TSI is not entitled to the

additional payment that it has sought for bottled water that was not restocked.

III.   The Court Should Not Consider The Proffered Extrinsic Evidence To
       Introduce Ambiguity Into The Otherwise Plain Language Of The
       Agreement

       It is not appropriate to use extrinsic evidence to impart ambiguity into an

otherwise unambiguous contract. TEG-Paradigm Env’t, 465 F.3d at 1340. See



                                           21
            Case: 23-1556    Document: 13      Page: 30    Filed: 08/28/2023




APPX0011-0012. If the “‘provisions are clear and unambiguous, they must be

given their plain and ordinary meaning,’ and the court may not resort to extrinsic

evidence to interpret them.” McAbee Const., 97 F.3d at 1435 (quoting Alaska

Lumber & Pulp Co. v. Madigan, 2 F.3d 389, 392 (Fed. Cir. 1993)) (additional

citations omitted). As this Court has observed, to permit otherwise “would cast ‘a

long shadow of uncertainty over all transactions’ and contracts.” McAbee Const.,

97 F.3d at 1435 (quoting Trident Ctr. v. Connecticut Gen. Life Ins. Co., 847 F.2d

564, 569 (9th Cir. 1988).

      Much of TSI’s arguments on appeal appear to rely upon the use of extrinsic

evidence, which TSI sometimes characterizes as “context.” See Appellant’s Br. at

33-46. Indeed, TSI weaves such extrinsic evidence into its statement of the case,

implying that to read the contract, this Court (and the board below) need consider

such evidence. See, e.g., Appellant’s Br. at 11 (Hurricane Florence task order), 14-

17 (trade practice declarations). However, because the contract was unambiguous,

the board was entirely correct to not consider extrinsic evidence in the first

instance.

      However, even if the contract were ambiguous (and it is not), this evidence

should not alter the Court’s analysis. First, to the extent that TSI seeks to rely

upon its untimely declarations regarding trade practice, the board did not abuse its

discretion in excluding consideration of these declarations. APPX0009-0012.



                                          22
             Case: 23-1556   Document: 13      Page: 31   Filed: 08/28/2023




Second, the interpretation of an otherwise ambiguous contract is a question a fact,

and the board’s determination that “even if we were to find the contract ambiguous

and look to extrinsic evidence,” APPX0016, it would not give weight to TSI’s

allegation is supported by substantial evidence. Accordingly, even were this Court

to determine that the contract is ambiguous, this Court should affirm the board’s

decision.2

      A.      The Board Did Not Abuse Its Discretion In Declining To Reopen
              And Reconsider Its January 27, 2022 Decision And Excluding
              TSI’s Late Proffered Declarations From The Record

       “[A] discovery or evidentiary ruling of the [b]oard will not be overturned

unless ‘an abuse of discretion is clear and is harmful.’” Johnson Mgmt. Grp. CFC,

308 F.3d at 1252 (Fed. Cir. 2002) (quoting Curtin, 846 F.2d at 1378) (reviewing a

ruling on a motion in limine for abuse of discretion). Indeed, this court has applied

this standard to issues that might arise in connection with a request for

reconsideration. See Zoeller v. McHugh, 626 F. App’x 983, 986 (Fed. Cir. 2015);

see also Yuba Nat. Res., Inc. v. United States, 904 F.2d 1577, 1583 (Fed. Cir.

1990) (noting that the decision to grant reconsideration is largely within a

tribunal’s discretion).



      2
        Further, to the extent that the Court finds an error in the board’s
determination under the applicable standards, the appropriate action would be to
remand to the board to make such factual findings in the first instance, rather than
have this Court make its own findings of fact on appeal.

                                          23
           Case: 23-1556     Document: 13      Page: 32   Filed: 08/28/2023




      Here, the Board’s rules provide that “[a] party may move for reconsideration

of a decision or order on an appeal or petition within 30 days after that party

receives the decision or order.” CBCA Rule 26(b). TSI does not contend that it

requested reconsideration within 30 days of the board’s January 27, 2022 decision

interpreting the plain language of the contract to require that it must provide “proof

that the supplies were actually restocked and a fee was charged for that

restocking.” APPX0006; see APPX0022 (docket demonstrating that no motion for

reconsideration was filed). The board’s rules also provide that “[a]rguments and

evidence previously presented are not grounds for reconsideration.” CBCA Rule

26(a). TSI did not present evidence of trade practice in connection with its prior

motion, but rather contended that the plain language of the contract controlled

(without resorting to arguments based upon trade practice). In light of TSI’s

failure to timely seek reconsideration or otherwise present its arguments and

evidence the board did not abuse its discretion in excluding these declarations.

      TSI attempts to excuse its inaction based upon the fact that the board

permitted the parties to engage in discovery after its January 27, 2022 decision.

However, this is merely because there were other specific issues (not questions of

contract interpretation) that the board had left open in its decision. See

APPX0006-0007. For example, the board noted that the record was unclear “as to

where in the shipping process the liter were when they were decreased, and how



                                          24
           Case: 23-1556     Document: 13      Page: 33   Filed: 08/28/2023




the supplies were treated by the suppliers.” APPX0006. The board also requested

that the record be further developed to determine “to what extent TSI actually paid

restocking fees and to whom they were paid.” Id. None of these outstanding

issues were issues of contract interpretation.3

      Further, TSI’s own contentions on appeal demonstrate that TSI’s untimely

attempt to supplement the record with purported expert declarations was inherently

prejudicial to FEMA. Having not sought reconsideration, FEMA confined its

discovery requests to the questions and issues that remained unsettled after the

opinion. See APPX0435-0437. TSI did not. As TSI stresses in its brief, FEMA

did not “submit its own expert reports, engage in any expert discovery, or

otherwise introduce any evidence to counter the qualifications of TSI’s three expert

witnesses or their substantive opinions.” Appellant’s Br. at 16. TSI seeks to

transform FEMA’s compliance with the CBCA Rules and the agency’s recognition

that not only has the issue of contract interpretation had been settled upon the plain

language, but the remaining issues related to the facts identified by the board into

some sort of concession by the agency that the expert reports were appropriate.

This is ridiculous. FEMA reasonably objected to this approach, see APPX0010,


      3
         Indeed, FEMA had moved for summary judgment itself, contending that
the record established that all restocking costs had been awarded by the contracting
officer and TSI had not identified any additional costs outside what FEMA had
determined ($14,592), but the board found a few open factual questions related to
these issues. APPX0007.

                                          25
              Case: 23-1556   Document: 13     Page: 34   Filed: 08/28/2023




rather than attempt to mirror TSI’s tactics. Accordingly, the board did not abuse

its discretion in excluding these declarations, and this Court should consider them

no further.

      Even assuming for the sake of argument that excluding the untimely

declarations from the record would constitute an abuse of discretion, TSI fails to

demonstrate that the board was required to consider them in order to interpret the

plain language of the contract. The declarations generally relate to trade practice

or the experiences of contractors on different contracts, and are offered to support

TSI’s interpretation of its contract, but the declarations do not provide specific

evidence that TSI relied upon such trade practice. Setting aside the obvious

problem of the plain language of the contract (as detailed above), this Court has

held that “a court should accept evidence of trade practice only where a party

makes a showing that it relied reasonably on a competing interpretation of the

words when it entered into the contract.” Metric Constructors, Inc. v. NASA, 169

F.3d 747, 752 (Fed. Cir. 1999); see also Jowett, Inc. v. United States, 234 F.3d

1365, 1369 (Fed. Cir. 2000) (“affidavits describing a supposed common industry

practice … are simply irrelevant where the language of the contract is

unambiguous on its face. It is well established that the government can vary from

the norm in the trade when contracting for goods and services.”). TSI made no

such showing before the board, but instead argued that Metric Constructors



                                          26
           Case: 23-1556     Document: 13     Page: 35    Filed: 08/28/2023




requires the board to consider evidence of trade practice before determining

whether there is an ambiguity. This is incorrect under a plain reading of Metric

Constructors and has been explicitly rejected by this Court in numerous cases that

have followed Metric Constructors.

      For example, in Jowett, Inc. v. United States, 234 F.3d 1365 (Fed. Cir.

2000), the contractor argued that Metric Constructors stands for the proposition

that “when the language of the contract does not reflect industry practice, the

contract is ambiguous and consequently the evidence of industry practice is

admissible to aid in the interpretation of the contract.” TSI makes the same

argument on appeal. Appellant’s Br. at 35-42. As in Jowett, this reading of Metric

Constructors should be rejected, because “[t]his view, in essence, enables industry

practice to create an ambiguity, even before the language of the contract is itself

analyzed to determine if an ambiguity lies within the four corners of the contract.”

Id. Such a finding would be contrary to existing law. See, e.g. R.B. Wright Constr.

Co. v. United States, 919 F.2d 1569, 1572 (Fed. Cir. 1990) (“Neither a contractor’s

belief nor contrary customary practice, however, can make an unambiguous

contract provision ambiguous, or justify a departure from its terms.”); Sterling Sav.

v. United States, 57 Fed. Cl. 445, 452 (2003) (“Plaintiff’s attempts to get this Court

to consider extrinsic evidence when the Assistance Agreements are clear on their

face are contrary to law and must fail.”); Northwest Title Agency, Inc. v. United



                                         27
              Case: 23-1556   Document: 13      Page: 36   Filed: 08/28/2023




States, 855 F.3d 1344 (Fed. Cir. 2017) (“Trade practice and custom may not be

used, however, to create an ambiguity where a contract was not reasonably

susceptible of differing interpretations at the time of contract.” (internal citations

omitted)).4

      Accordingly, even if the board abused its discretion in excluding TSI’s

untimely declarations, they would not have altered the board’s analysis.

      B.       The Hurricane Florence Task Order Does Not Support TSI’s
               Claims

      TSI also sought to introduce information about a separate task order (the

Hurricane Florence task order) as extrinsic evidence to support its position.

Appellant’s Br. at 42-46. Again, however, where a contract provision is clear and

unambiguous, the court may not resort to extrinsic evidence to interpret it.

McAbee, 97 F.3d at 1435. Cir. 1993). Simply, the Court’s inquiry ends and the

plain language of the contract controls. Coast Fed. Bank, FSB v. United States,

323 F.3d at 1040–41.

      Further, the contracting officer’s actions in connection with the September

2021 Hurricane Florence task order does not support TSI’s position. The fact that

a contracting officer on one task order did not request documentation for proof that


      4
       While not binding on this Court, TSI’s reading of Metric Constructors has
also explicitly rejected by the United States Court of Federal Claims in cases such
as Two Shields v. United States, 119 Fed. Cl. 762 (2015), aff’d sub nom. Ramona
Two Shields v. United States, 820 F.3d 1324 (Fed. Cir. 2016).

                                           28
           Case: 23-1556     Document: 13      Page: 37   Filed: 08/28/2023




under a million liters of bottled water were restocked does not mean that a

contracting officer on another task order must convert the restocking fee into a

cancellation fee in direct contradiction of the actual language in the contract, nor

does such evidence aid in the interpretation of the language of the contract absent

some indication that that contracting officer’s actions was based upon a specific

interpretation of the contract. Given these differences, as described in more detail

below, the board’s determination that it lacked “reliable evidence, such as where

the order was in the delivery process, by which to evaluate whether the

circumstances of the task orders were similar,” APPX0016, is supported by

substantial evidence.

      As relevant here, FEMA reduced the ordered quantity under the Hurricane

Florence Task Order by 975,680 liters and paid the $0.41 restocking fee rate for

the full quantity of the order reduction without requesting proof that TSI restocked

those 975,680 liters of water. See APPX0262. TSI contends that this means that

FEMA must have agreed with its interpretation that restocking is not required and

that the restocking fee is more akin to a cancellation fee. Appellant’s Br. at 42-46.

      However, TSI never alleged that it did not restock those 975,680 liters of

water. The contracting officer might have assumed as such, but such an

assumption does not evidence a specific, differing interpretation of restocking fee




                                          29
             Case: 23-1556    Document: 13     Page: 38    Filed: 08/28/2023




provision. Compare Chase & Rice, Inc. v. United States, 354 F.2d 318, 322 (Ct.

Cl. 1965) (specific statement interpreting the contract terms).

         Instead of FEMA agreeing with the position that the restocking fee should

apply to the quantity of the decrease in order rather than the quantity of liters

restocked, this appears to present an instance where those two numbers happened

to be the same. Indeed, FEMA specifically paid the restocking fee on the

Hurricane Florence task order “for unshipped water” based on the “last day

delivery.” APPX0242. At best, all that TSI can demonstrate with this example is

that the contracting officer did not require proof of restocking when the quantity of

decrease was limited to a single day of unshipped water. There is nothing

unreasonable about assuming that 975,680 liters of water, representing a single day

of shipment, was restocked under the Hurricane Florence Task Order, while

requesting documentation as to whether the same was true of an amount almost

7,000% higher (submitted almost three years after the fact) under the instant task

order.

         Nor are the cases cited by TSI on point. Appellant’s Br. at 42-46. In WDC

West Carthage Associates v. United States, for example, this Court referenced the

conduct of the parties during performance as evidence of the otherwise

unambiguous meaning of the contract. 324 F.3d at 1363-64 (Fed. Cir. 2003).

Specific actions taken in accordance with the express terms of the contract lent



                                          30
           Case: 23-1556       Document: 13    Page: 39   Filed: 08/28/2023




weight to the plain meaning of the contract, especially where a later, plainly

different interpretation was unsupported by any contract language. Id. That is not

the case here. Reliable Contracting Group, LLC v. Department of Veterans

Affairs, 779 F.3d 1329, 1332 (Fed. Cir. 2015) is similarly not on point, as it

concerns conflicting interpretations by the agency at different times as applied to

the same item at issue (generators), rather than two different and district factually

distinct situations.

       Accordingly, even if the board were required to consider this evidence, it

would not change the result.

IV.    The Doctrine Of Contra Proferentem Is Not Applicable Here

       TSI briefly contends that if there is an ambiguity in the terms of the

restocking fee, TSI’s interpretation of the restocking fee provision should prevail

under the doctrine of contra proferentem. Appellant’s Br. at 49-50. However, this

Court has made clear that the doctrine of contra proferentem is a “rule of last

resort,” which is “applied only when other approaches to contract interpretation

have failed” and, “after examining the entire contract, the relation of the parties

and the circumstances under which they executed the contract, the ambiguity

remains unresolved.” Gardiner, Kamya & Assocs., P.C. v. Jackson, 467 F.3d

1348, 1352 (Fed. Cir. 2006) (“Ascertaining the most reasonable construction of




                                          31
              Case: 23-1556   Document: 13     Page: 40   Filed: 08/28/2023




contract language utilizing other tools of contract interpretation must be the first

priority”).

       In addition to being a rule of last resort, the doctrine of contra proferentem

also has a number of limitations or exceptions, including the patent ambiguity

doctrine. See Triax Pac., Inc. v. West, 130 F.3d 1469, 1474 (Fed. Cir. 1997). “The

existence of a patent ambiguity in a government contract raises the duty of inquiry,

regardless of the reasonableness of the contractor’s interpretation.” Id. (internal

quotation marks omitted). “That duty requires the contractor to inquire of the

contracting officer as to the true meaning of the contract before submitting a bid.”

Id. at 1474-75. “Absent such inquiry, a patent ambiguity in the contract will be

resolved against the contractor.” Id. at 1475.

       Moreover, “apart from the patent ambiguity exception,” for contra

proferentem to apply, the contractor must establish each of the following elements:

“(1) that the contract specifications were drawn by the Government; (2) that

language was used therein which is susceptible of more than one interpretation;

(3) that the intention of the parties does not otherwise appear; and (4) that the

contractor actually and reasonably construed the specifications in accordance with

one of the meanings of which the language was susceptible.” HPI/GSA 3C, LLC v.

Perry, 364 F.3d 1327, 1334 (Fed. Cir. 2004); see also Edward R. Marden Corp.,

803 F.2d at 705 (“It is also well settled that where a contractor seeks recovery



                                          32
           Case: 23-1556      Document: 13      Page: 41   Filed: 08/28/2023




based on his interpretation of an ambiguous contract, he must show that he relied

on this interpretation in submitting his bid.”).

      As an initial matter, because the contract is unambiguous, this doctrine does

not apply. Further, even if the contra proferentem rule-of-last-resort were reached,

TSI still could not recover because it failed to prove that it had relied on its current

interpretation of the contract when submitting its proposal. See Edward R. Marden

Corp., 803 F.2d at 705 (“It is also well settled that where a contractor seeks

recovery based on his interpretation of an ambiguous contract, he must show that

he relied on this interpretation in submitting his bid.”); Fruin-Colnon Corp. v.

United States, 912 F.2d 1426, 1430 (Fed. Cir. 1990) (“The burden of proving

reliance on the claimed interpretation . . . falls on the contractor.”). The record is

devoid of contemporaneous evidence that TSI relied upon its interpretation of the

restocking fee provision to require payment of a restocking fee without incurring

the costs of restocking.

V.    TSI Fails To Demonstrate That The Board’s Determination That It
      Suffered No Damages Is Unsupported By Substantial Evidence.

      Finally, TSI contends that the board erred in discussing the question of

whether TSI could qualify for an equitable adjustment, see APPX0016, because

TSI has not asserted a claim for an equitable adjustment, but is raising a claim for a

breach of contract. See Appellant’s Br. at 51. As an initial matter, although TSI

refers to its claim as a “breach of contract” claim, the contract at issue incorporated


                                           33
           Case: 23-1556     Document: 13      Page: 42    Filed: 08/28/2023




FAR 52.212-4(d), APPX0031, and thus TSI’s claim is more accurately viewed as a

“dispute” arising under the contract and governed by FAR 52.233-1 (Disputes),

rather than a breach.

      TSI does not demonstrate how the relevant factual portion of the board’s

determination (that TSI suffered no damages) is unsupported by substantial

evidence, but instead merely claims that its “harm is readily apparent,” by virtue of

cancellation. Appellant’s Br. at 52. In other words, TSI’s argument that it suffered

damages is wholly contingent upon this Court determining that the TSI’s

interpretation of the contract is correct and that the appropriate measure of

damages is tied to the entire reduction in quantity. We do not dispute that a

different interpretation of the contract would yield a different result. If TSI’s

interpretation is incorrect, however, there is no independent merit to TSI’s

suggestion that the board incorrectly determined that TSI failed to demonstrate that

it had incurred any restocking costs, having admitted that it has not paid any

restocking fees. APPX0014; see APPX0435.

      In any event, because this ruling is in the alternative, APPX0016, and TSI

acknowledges that it did not claim and is thus not entitled to any equitable

adjustment, this Court need not consider the matter any further.




                                          34
            Case: 23-1556   Document: 13     Page: 43   Filed: 08/28/2023




                                 CONCLUSION

      For these reasons, we respectfully request that the Court affirm the board’s

decision.

                                      Respectfully submitted,

                                      BRIAN M. BOYNTON
                                      Principal Deputy Assistant Attorney General

                                      PATRICIA M. MCCARTHY
                                      Director

                                       /s/ Martin F. Hockey, Jr.
                                      MARTIN F. HOCKEY, JR.
                                      Deputy Director

                                       /s/ Steven Michael Mager
                                      STEVEN MICHAEL MAGER
                                      Senior Trial Counsel
                                      Commercial Litigation Branch
                                      Civil Division
                                      Department of Justice
                                      P.O. Box 480
                                      Ben Franklin Station
                                      Washington, DC 20044
                                      (202) 616-2377

August 28, 2023                       Attorneys for Appellee




                                        35
              Case: 23-1556         Document: 13         Page: 44       Filed: 08/28/2023



FORM 19. Certificate of Compliance with Type-Volume Limitations                                    Form 19
                                                                                                  July 2020


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

  CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS

            Case Number: 23-1556

  Short Case Caption: Team Systems International, LLC v. Secretary of the Department of Homeland Security

 Instructions: When computing a word, line, or page count, you may exclude any
 items listed as exempted under Fed. R. App. P. 5(c), Fed. R. App. P. 21(d), Fed. R.
 App. P. 27(d)(2), Fed. R. App. P. 32(f), or Fed. Cir. R. 32(b)(2).

The foregoing filing complies with the relevant type-volume limitation of the
Federal Rules of Appellate Procedure and Federal Circuit Rules because it meets
one of the following:

        ✔       the filing has been prepared using a proportionally-spaced typeface
                and includes __________
                               7960      words.

                the filing has been prepared using a monospaced typeface and includes
                __________ lines of text.

                the filing contains __________ pages / __________ words / __________
                lines of text, which does not exceed the maximum authorized by this
                court’s order (ECF No. __________).


        08/28/2023                                                /s/ Steven Michael Mager
  Date: _________________                        Signature:

                                                 Name:            Steven Michael Mager




                                             Save for Filing
